Case 1:17-cv-00234-DKW-KSC Document 35 Filed 09/12/17 Page 1 of 2         PageID #: 448




                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII


  PAUL W. LEWIS; CONNIE K.      )             CV 17-00234 DKW-KSC
  LEWIS,                        )
                                )
            Plaintiff(s),       )             ORDER ADOPTING
                                )             MAGISTRATE JUDGE’S
       vs.                      )             FINDINGS AND
                                )             RECOMMENDATION
  HSBC BANK USA, N.A.;          )
  MICHAEL JAMES MARTIN;         )
  COLLEEN ANN JERGENS;          )
  WELLS FARGO BANK, N.A.; DOE )
  DEFENDANTS 1-50,              )
                                )
            Defendant(s).       )
  _____________________________ )

                  ORDER ADOPTING MAGISTRATE JUDGE’S
                    FINDINGS AND RECOMMENDATION

        Findings and Recommendation having been filed and served on all parties

  on August 25, 2017, and no objections having been filed by any party,

        IT IS HEREBY ORDERED AND ADJUDGED that, pursuant to Title 28,

  United States Code, Section 636(b)(1)(C) and Local Rule 74.2, the "Findings and

  ///



  ///



  ///
Case 1:17-cv-00234-DKW-KSC Document 35 Filed 09/12/17 Page 2 of 2          PageID #: 449




  Recommendation to Grant Plaintiffs’ Motion for an Order of Remand" are adopted

  as the opinion and order of this Court.

        IT IS SO ORDERED.

        DATED: September 12, 2017 at Honolulu, Hawai’i.




                                            /s/ Derrick K. Watson
                                            Derrick K. Watson
                                            United States District Judge




  Paul W. Lewis, et al v. HSBC Bank USA, N.A.; ORDER ADOPTING
  MAGISTRATE JUDGE’S FINDINGS AND RECOMMENDATION
